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AO 91 (Rev. 5/85) Criminal Complaint

United States District Court.

SOUTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA
V.

CRIMINAL COMPLAINT
Erik Octavio VARELA-Lara, YOB: 1995 USC ,

CASE NUMBER: 4: {|G -M 0-014

SEALED

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

 

knowledge and belief. On or about 11/27-11/29/2018 in Hidalgo __ county, in the
Southern District of Texas defendant(s) did, (track Statutory Language of Offense)

Knowingly and Intentionally Conspire to possess with Intent to Distribute approximately 5 kilograms or more of cocaine, a
Schedule II Controlled Substance

Knowingly and Intentionally possess with Intent to Distribute approximately 12 kilograms of cocaine, a Schedule II Controlled
Substance

in violation of Title 21 United States Code, Section(s) 841 (a) (1), 846

 

I further state that I am a(n) DEA Task Force Officer and that this complaint is based on the
following facts: See Attachment “A”.

Continued on the attached sheet and made a part of hereof: X Yes No

 

Signature of Complainant
wo Gilberto M. Vazaldua, DEA Task Force Officer
scribed in ce,

Sworn to NS me and su

 

April 3, 2019 | aS Ae fr. At McAllen, Texas
iw

Date ity and State

S
Juan Alanis, U.S. Magistrate Judge fe Vie
Name & Title of Judicial Officer LC Signature of Judicial Officer

sot;

 

   

 
 

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ATTACHMENT A

On November 27, 2018, DEA HIDTA D-84 received information from a
confidential source, hereinafter referred to as CS, who stated that Erik
Octavio VARELA-Lara, hereinafter referred to as VARELA-Lara wanted to
transport 10 kilograms of cocaine from the Rio Grande Valley area to
Pennsylvania. The CS stated that VARELA-Lara wanted to rent a storage
room, to store approximately 10 kilograms of cocaine. On this same date,
DEA Agents followed VARELA-Lara and the CS to a storage unit in Pharr,
Texas. Agents observed VARELA-Lara place a cardboard box inside the
storage unit. VARELA-Lara and the CS then closed the unit and departed the
location,’ DEA Agents remained at location and maintained constant
surveillance on the storage unit.

On November 29, 2018, DEA Agents observed VARELA-Lara arrive at the
aforementioned storage unit and placed the cardboard box inside his vehicle.
VARELA-Lara was then seen by agents depart the storage unit and travel to
a warehouse in Hidalgo, Texas. Once at the warehouse agents observed
VARELA-Lara digging into large sandbags that were outside the warehouse,
next to the loading docks.

At approximately 5:18 p.m., agents observed an Orange tractor/trailer
arrived at the warehouse. Agents then observed a forklift load twelve (12)
large sandbags into the trailer.

_ At approximately 6:30 p.m., agents observed the orange tractor depart the
warehouse and travel eastbound on Military Rd. and then north on Alamo
Rd., until merging onto Interstate 2. The orange tractor then traveled
towards eastbound and arrived at the Love’s Store in Donna, Texas, where it
stayed for approximately one hour, before continuing towards Brownsville,
Texas.

At approximately 9:15 p.m., Brownsville Police Department conducted a
traffic stop on Interstate 2. Officers utilized a narcotics border patrol canine
to conduct a search of the tractor and trailer. The K-9 gave a positive alert >
to the presence of narcotics emitting from the trailer. Officers conducted a
search of the trailer and discovered ten (10) bundles, which tested positive
for the properties and characteristics of cocaine, with an approximate gross .
weight of approximately 12.10 kilograms, concealed inside the sandbags.
